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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

VERNON CRADLE,

     Petitioner,

                                           CIVIL ACTION NOS. 1:04-0749
v.                                                           1:05-0392
                                     CRIMINAL ACTION NO. 1:02-00241-06


UNITED STATES OF AMERICA,

     Respondent.


                           MEMORANDUM OPINION

     Pursuant to the court’s Judgment Order filed herewith, in

which the court overruled both petitioner’s objections to

Magistrate Judge R. Clarke VanDervort’s Proposed Findings and

Recommendation [hereinafter “Findings and Recommendation” or “F &

R”], confirmed and accepted the F & R excepting as modified

herein, and indicated that an explanatory memorandum opinion

would follow forthwith, the court now issues its Memorandum

Opinion.

     Petitioner raised a number of issues in his two motions

under 28 U.S.C. § 2255, but, following the issuance of the

magistrate judge’s F & R, withdrew contravention on the issues

raised in Civil Action No. 1:04-0749.*         (See Doc. No. 6 in both

     *
        Petitioner also appears to object to the drug weight
calculation . (See Doc. No. 7) (“I was clearly enhanced by .09
which I’ve never found in the guideline books. The amount of
pills is not a discrepancy but the way you get 900 kg as opposed
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Civil Actions.)      The only issue petitioner raised in Civil Action

No. 1:05-0392 is that his criminal history classification was

improper as he had “already paid [his] due for a felony” and that

it is “unconstitutional to put [him] in another category that was

paid for.”   (See Doc. No. 7 in both Civil Actions.)            As the

magistrate judge never explicitly addressed this argument in his

F & R, the court now addresses it.

     Petitioner’s objection is without merit.            It is clear that

considering a defendant’s prior criminal history when calculating

his sentence is constitutional, and, in fact, expected practice.

United States v. Baker, 1992 U.S. App. LEXIS 1149, at **6-7 (4th

Cir. Jan 31, 1992).     See United States v. Lovelock, 170 F.3d 339,

345 (2d Cir. 1999); United States v. Litteral, 910 F.2d 547, 552-

53 (9th Cir. 1990).     As such, petitioner’s first objection is

OVERRULED.

     For the reasons outlined herein, in the accompanying

Judgment Order, the court (1) confirms and accepts the magistrate

judge’s findings excepting as modified herein, (2) denies

petitioner’s motions under 28 U.S.C. § 2255 to Vacate, Set Aside,


to 100 kg is.”). This issue was raised only in Civil Action No.
1:04-00749, which petitioner, under the guise that it was
meritless, withdrew seven days before he filed his objection.
(See Doc. No. 6 in both Civil Actions.) Nevertheless, assuming
petitioner intended for this claim to remain alive, as the
magistrate judge noted in the F & R, petitioner’s objection must
be overruled because Blakely v. Washington, 542 U.S. 296 (2004)
does not apply retroactively. (See generally Doc. No. 5 at 4-
10.)

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or Correct Sentence by a Person in Federal Custody (Doc No. 1 in

both above-referenced civil actions), and (3) directs the Clerk

to remove these matters from the court’s active docket.

     The Clerk is directed to forward a copy of this Memorandum

Opinion to the petitioner, pro se, and to all counsel of record.

     IT IS SO ORDERED this 18th day of May, 2006.

                                                ENTER:



                                               David A. Faber
                                               Chief Judge




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